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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 BLAIR LAMPE, an individual,
                                                                DEFENDANT’S NOTICE
         Plaintiff,                                                OF REMOVAL

 v.

 DELTA AIR LINES, INC., a foreign                               Case No.: 2:22-cv-00055-TC
 corporation,

         Defendant.                                             District Judge Tena Campbell




       Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446, Defendant Delta Air Lines, Inc.

(“Defendant”), hereby respectfully files this Notice of Removal to the United States District Court

for the District of Utah, Central Division, of the state action pending in the Third Judicial District

Court, Salt Lake County, State of Utah, entitled Blair Lampe, an individual v. Delta Air Lines,

Inc., a foreign corporation, Case No. 220900182 (the “State Action”), based upon federal

question, as well as diversity of citizenship and an amount in controversy exceeding $75,000.00.
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See 28 U.S.C. §§ 1331, 1332, 1441, and 1446.

       Defendant submits that original subject matter jurisdiction exists in the United States

District Court for the District of Utah—which is the district court of the United States for the

district and division embracing the place where the State Action is pending—based on (1) federal

question jurisdiction pursuant to 28 U.S.C. § 1331, and (2) diversity of citizenship jurisdiction

pursuant to 28 U.S.C. § 1332. Defendant avers the following in support of this Notice of

Removal:

       1.      On January 11, 2022, Plaintiff Blair Lampe (“Plaintiff”) commenced the State

Action by filing her Complaint. (A true and correct copy of the State Action Complaint is

attached hereto as Exhibit 1.)

       2.      On January 12, 2022, Defendant, through its registered agent, was served with the

State Action Complaint. (A true and correct copy of the Notice of Service of Process is attached

hereto as Exhibit 2.)

       3.      Under 28 U.S.C. § 1446(b), the notice of removal of a civil action shall be filed

within thirty days after the receipt by the defendant, through service, of a copy of the initial

pleading setting forth the claim for relief upon which such action or proceeding is based.

Because Defendant was served on January 12, 2022, Defendant has until February 11, 2022, to

file a notice of removal. Accordingly, this Notice of Removal is timely filed within the thirty-

day period provided under 28 U.S.C. § 1446(b).

       4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

both of Plaintiff’s claims arise under federal law – specifically, “the Civil Rights Act of 1964, as




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amended 42 USC §2000e, et seq. . . . and the Equal Pay Act, 29 USC §29, et seq.” (See Ex. 1,

State Action Complaint at 1.)

       5.      This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332

because the Plaintiff and Defendant are citizens of different states and the amount in controversy

exceeds $75,000.

       6.      Specifically, Plaintiff is a resident and citizen of, and domiciled in, Utah while

Defendant is a Delaware corporation, with its principal place of business in Georgia.

Accordingly, for purposes of 28 U.S.C. § 1332, Defendant is considered a resident and citizen of,

and domiciled in, Delaware and Georgia. (See Corporate Printout, attached as Exhibit 3.)

Plaintiff specifically acknowledges that she is a resident and citizen of, and domiciled in, Utah,

and she also acknowledges that Delta is a “foreign” corporation, meaning that it is not a resident

or citizen of, or domiciled in, Utah. (Ex. 1, State Action Complaint at Caption and ¶¶ 1-2.)

       7.      Additionally, Plaintiff alleges damages ranging up to $300,000, before the

inclusion of her alleged punitive damages, attorney fees, and “other damages.” (See Ex. 1, State

Action Complaint at ¶ 59.)

       8.      Based on the foregoing, the United States District Court for the District of Utah,

Central Division has jurisdiction over the State Action under 28 U.S.C. §§ 1331 and 1332, and

the State Action may be removed to Federal Court pursuant to 28 U.S.C. § 1441. Pursuant to 28

U.S.C. § 1446(d), Defendant will file a written notice of this removal with the Third Judicial

District Court for the State of Utah, which, along with this notice, is being served on Plaintiff’s

counsel as required by 28 U.S.C. § 1446(d). (A true and correct copy of the corresponding




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Notice of Removal to be filed in the State Court Action is attached hereto (without exhibits) as

Exhibit 4.)

       9.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served on Defendant are attached hereto as Exhibits 1 and 2. Additionally, a printout of the

docket from the State Court Action is attached hereto as Exhibit 5.

                                        CONCLUSION

       For the foregoing reasons, federal jurisdiction now exists under 28 U.S.C. §§ 1331 and

1332, and removal is appropriate under 28 U.S.C. § 1441.

       DATED this 28th day of January, 2022.

                                             RAY QUINNEY & NEBEKER P.C.


                                             /s/Jascha K. Clark
                                             David B. Dibble
                                             Jascha K. Clark

                                             Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of January, 2022, a true and correct copy of the

foregoing DEFENDANT’S NOTICE OF REMOVAL was electronically filed with the Clerk

of the Court using the Court’s ECF System and was also emailed to the following:

       Michele Anderson-West
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       Attorneys for Plaintiff



                                      /s/ TerriAnne Gillis




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